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                                     United States District Court
                                                    for
                                          the District of Nevada

                                 REQUEST FOR MODIFICATION
                 TO CONDITIONS OF SUPERVISION WITH CONSENT OF OFFENDER
                          Probation Form 49 (Waiver of Hearing) is Attached
                                           July 17, 2014

Name of Offender:        MIGUEL ANGEL CRUZ

Case Number:         2:10-cr-620-PMP-GWF

Name of Sentencing Judicial Officer:     Honorable Philip M. Pro

Date of Original Sentence:    January 23, 2012

Original Offense:     Conspiracy to Distribute a Controlled Substance - Methamphetamine

Original Sentence: 30 Months Custody. Two Years Supervised Release

Date Supervision Commenced:        May 9, 2014

                                     PETITIONING THE COURT

     To extend the term of supervision       Months, for a total term of          Months.

 T To modify the conditions of supervision as follows:


1.       You shall complete 25 hours of community service within 90 days of the signed Court order,
         as approved and directed by the probation officer.

                                                  CAUSE

As a condition of supervision, Mr. Cruz was enrolled in random drug testing. On May 28, 2014, Mr. Cruz
submitted an invalid urine screen due to an abundance of water being in his system causing the sample to
be diluted. On June 22, 2014, Mr. Cruz failed to appear for drug testing after his color was called on the
code-a-phone testing system. On June 6, 2014, and July 12, 2014, Mr. Cruz stalled his drug tests in which
he reported to the testing site, but he was unable to provide any urine for the drug test. It should be noted
that all of the valid urine screens on Mr. Cruz have been negative, as of this writing.

On June 23, 2014, Mr. Cruz failed to report to the probation office for a scheduled office visit. On July 16,
2014, Mr. Cruz failed to report to his scheduled counseling session for mental health treatment.
          Case
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Rev. July 2013                       RE: MIGUEL ANGEL CRUZ

On July 17, 2014, a noncompliance meeting was held with Mr. Cruz at the probation office. He was
informed of the severity of all of his violations. Due to this conduct, Mr. Cruz signed a waiver of a hearing
in agreement to modify his conditions of supervision to include 25 hours of community service to be
completed within 90 days of the signed Court order (please see attached).

Should Your Honor have any questions or concerns, the undersigned probation officer will be available at
the Court’s convenience.


                                                 Respectfully submitted,




APPROVED:




THE COURT ORDERS:

          No action

         The extension of supervision as noted above

  XX      The modification of conditions as noted above

          Other

                                                          _____________________________
                                                          Signature of Judicial Officer

                                                           7/21/14
                                                          _____________________________
                                                          Date
